Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 1 of 21




                         EXHIBIT 9
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 2 of 21




                  HeinOnline -- 70 Fed. Reg. 70116 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 3 of 21




                   Portions Omitted
                       Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 4 of 21
     70216            Federal Register / Vol. 70, No. 223 / Monday, November 21, 2005 / Rules and Regulations

     allowable for dispensing inhalation                     summed amount as the numerator and                    ASP would improve the overall
     drugs, furnishing blood clotting factor,                the corresponding total sales data as the             accuracy of the ASP calculation,
     and supplying certain other Part B                      denominator. This results in a 12-month               particularly for NDCs with significant
     drugs. We also discussed proposed                       rolling average price concession                      fluctuations in the percentage of sales
     changes in how manufacturers calculate                  percentage that is applied to the total in            that are direct sales.
     the ASP and in the ASP data reported                    dollars for the sales subject to the ASP                 We proposed conforming changes to
     to us.                                                  reporting requirement for the quarter                 § 414.804 for the methodology for
                                                             being submitted to determine the price                calculating the lagged price concessions
     1. ASP Issues                                           concession estimate for the quarter. The              percentage. We also proposed to revise
        Section 303(c) of the MMA amended                    methodology is specified in                           the regulation to clarify that the
     Title XVIII of the Act by adding new                    § 414.804(a)(3).                                      estimation ratio methodology relates to
     section 1847A. This new section                           We identified a refinement of the ASP               lagged price concessions and also define
     establishes the use of the ASP                          calculation and lagged price concession               ‘‘direct sales’’ and ‘‘indirect sales’’ in
     methodology for payment for most                        estimation methodology related to                     § 414.802. In addition, we requested
     drugs and biologicals not paid on a cost                chargebacks that we believe improves                  comments about the advisability and
     or prospective payment basis furnished                  the accuracy of the estimate. As a result,            potential effects of requiring
     on or after January 1, 2005. The ASP                    we proposed to clarify the ASP                        manufacturers to calculate the ASP for
     reporting requirements are set forth in                 calculation in the August 8, 2005                     direct sales, including price
     section 1927(b) of the Act.                             proposed rule (70 FR 5843).                           concessions, independently from the
     Manufacturers must submit ASP data to                                                                         ASP for indirect sales and then
                                                             b. Price Concessions: Wholesaler
     us quarterly. The manufacturers’                                                                              calculating a weighted average of these
                                                             Chargebacks
     submissions are due to us not later than                                                                      ASPs to submit to us, as well as the
     30 days after the last day of each                         Wholesaler chargebacks are a type of               proposed definitions of direct sales and
     calendar quarter. The methodology for                   price concession, generally paid on a                 indirect sales.
     developing Medicare drug payment                        lagged basis, that apply to sales to                     Comment: We received many
     allowances based on the manufacturers’                  customers (for example, physicians) via               comments on our proposed refinement
     submitted ASP data is specified in the                  a wholesaler (or distributor). Wholesaler             to the ASP calculation. Nearly all of
     regulations in part 414, subpart K. Based               chargeback arrangements may vary in                   these commenters opposed this
     on the data we receive, we update the                   scope and complexity. Under the                       proposal and many asked for
     Part B drug payment amounts quarterly.                  current estimation methodology for                    clarification of the proposed
        In this section of the preamble, we                  lagged price concessions, total lagged                terminology.
     discuss: Our proposed changes related                   price concessions, including lagged                      All but one of the comments received
     to the methodology manufacturers use                    wholesaler chargebacks, for the 12-                   from drug manufacturers stated that the
     to calculate the ASP and apply the                      month period are divided by total sales               proposed change to the ASP calculation
     estimate of lagged price concessions in                 for that same period to determine a ratio             would require significant modifications
     the ASP calculation; the reporting of                   that is applied to the total sales for the            to manufacturers’ accounting and
     ASP data; the weighting methodology                     reporting period. The ratio of lagged                 reporting data systems while resulting
     we follow to establish the Medicare                     price concessions to sales is calculated              in minimal change or benefit to the
     payment amounts using the ASP data;                     over all sales, both indirect sales (sales            ASP-based payment. Many commenters
     the comments received and our                           to wholesalers and distributors and                   stated that the proposed modification to
     responses; and our final policy with                    other similar entities that sells to others           the ASP calculation would not result in
     respect to these issues.                                in the distribution chain) and direct                 more accurate payments. Further,
                                                             sales (sales directly from manufacturer               comments from groups representing
     a. Estimation Methodology for Lagged                    to providers, such as hospitals or                    drug and biological manufacturers
     Price Concessions                                       HMOs). To the extent that the                         stated that they do not believe the
        Section 1847A(c)(5)(A) of the Act                    relationship between total dollars for                proposed methodology will have a
     states that the ASP is to be calculated by              indirect sales and total dollars for all              material impact on the overall ASP or
     the manufacturer on a quarterly basis.                  sales is different for the reporting                  the accuracy of the calculation. Many of
     As a part of that calculation,                          quarter and the 12-month period used,                 the commenters opposing the proposal
     manufacturers are to take into account                  the current ratio methodology for                     stated that the expense and burden of
     price concessions such as—                              estimating lagged price concessions may               implementing the proposed change to
        • Volume discounts.                                  overstate or understate wholesaler                    the ASP calculation would be
        • Prompt pay discounts.                              chargebacks expected for the reporting                unjustified because direct and indirect
        • Cash discounts.                                    period. A more accurate estimation of                 sales and price concessions for a given
        • Free goods that are contingent on                  lagged price concessions would                        product are stable over time,
     any purchase requirement.                               minimize the effect of quarter to quarter             particularly for generic products, and
        • Chargebacks.                                       variations in the relationship between                further breakdown of the calculation
        • Rebates (other than rebates under                  indirect sales and all sales. As a result,            would not have a significant impact on
     the Medicaid drug rebate program).                      we proposed to revise § 414.804 to                    the ASP calculation. Many commenters
        If the data on these price concessions               require manufacturers to calculate the                also noted that implementing the
     are lagged, then the manufacturer is                    ASP for direct sales independently from               proposed weighted average approach
     required to estimate costs attributable to              the ASP for all other sales subject to the            would increase both the complexity of
     these price concessions. Specifically,                  ASP reporting requirement (indirect                   the ASP calculation and the potential
     the manufacturer sums the price                         sales). Then, the manufacturer would                  for calculation error.
     concessions for the most recent 12-                     calculate a weighted average of the                      We received comments from
     month period available associated with                  direct sales ASP and the indirect sales               manufacturers of oncology, inhalation,
     all sales subject to the ASP reporting                  ASP to submit to us.                                  contrast media, and other drugs and
     requirements. The manufacturer then                        We believed that the weighted average              biologicals that included estimates of
     calculates a percentage using this                      of direct sales ASP and indirect sales                the potential impacts of the proposed


VerDate Aug<31>2005   14:28 Nov 18, 2005   Jkt 208001   PO 00000   Frm 00102   Fmt 4701   Sfmt 4700   E:\FR\FM\21NOR2.SGM   21NOR2
                       Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 5 of 21
                      Federal Register / Vol. 70, No. 223 / Monday, November 21, 2005 / Rules and Regulations                                       70217

     modification to the ASP calculation for                 commenters recommended that, if the                   the proposal because they believe the
     a limited number of NDCs chosen as                      proposed methodology is adopted, we                   burden would outweigh the benefit.
     examples. These estimates ranged from                   implement the change prospectively to                   Among the comments received that
     a slight decrease (less than one half of                allow for a phase-in period and to delay              specified potential percentage changes
     a percent) to a 4.3 percent increase in                 implementation until April 2006 or later              in the overall ASP, a range of potential
     the overall ASP for the NDC. One                        to provide time for systems changes to                impacts was reported. One of the
     manufacturer estimated that sales would                 be implemented and tested.                            examples submitted suggested that the
     have to vary 20 percent from the 12-                       We received a few comments from                    impact could extend to upwards of a 4
     month lag period to change the ASP by                   drug manufacturers expressing their                   percent increase in the ASP for an NDC,
     more than 1 percent. Notwithstanding                    belief that other market issues cause                 while another example showed a slight
     the potential change in the overall ASP,                fluctuation in the ASP, and that it                   decrease. We cannot determine whether
     all but one manufacturer, which reports                 would be more beneficial to receive                   the reported examples are representative
     ASP for a single product, recommended                   guidance on how to resolve these issues.              of other or all NDCs subject to the ASP
     that we not adopt the proposed change.                     A few commenters were concerned                    reporting requirements.
     However, some of these commenters                       with the time frame for implementation                  We also noted the concerns expressed
     suggested that the weighted average                     of the proposed modification of the ASP               by manufacturers regarding the
     approach be voluntary or applicable                     calculation. These commenters                         significant additional burdens
     only in cases where significant                         recommended that we consider delaying                 associated with the proposed
     fluctuations exist in the proportion of                 implementation until after a trial period             methodology, the potential for
     sales that are direct and indirect and                  or at least until April 2006.                         inconsistent application of the proposed
     there is a compelling need to apply the                    We also received comments from                     methodology across manufacturers, and
     proposed methodology. Other                             providers who have experienced                        the potential effects of the proposed
     commenters from the manufacturing                       difficulty acquiring drugs at or below                methodology on manufacturers’
     community were concerned about                          the payment amount. These                             systems. In addition, we carefully
     consistency across manufacturers and                    commenters, as well as comments from                  considered the comments from the
     recommended that we not leave it up to                  physician organizations, support                      physician community in support of
     each manufacturer to choose whether to                  changes to the ASP calculation insofar                refinements to the ASP calculation that
     use the proposed methodology or not.                    as they will result in more appropriate               would increase payments.
     One commenter suggested that the                        reimbursements for Part B drugs.                        Although we are not implementing
     proposed methodology be mandatory for                      Response: Our goal is to ensure                    the proposed refinement to the ASP
     a manufacturer that has at least one                    continued beneficiary access to care                  calculation at this time, we will
     NDC with direct sales of 33 percent or                  through implementation of accurate and                continue to work with manufacturer to
     more of gross sales for the prior year.                 sufficient payment systems. To this end,              better understand the instances in
     The manufacturer would then be                          we proposed to refine the ASP                         which the proposed methodology may
     required to calculate the ASP for all of                calculation because the weighted                      benefit the program and the potential for
     its NDCs using the proposed                             average of direct sales ASP and indirect              appropriate use of that methodology for
     methodology.                                            sales ASP could potentially improve the               certain or all NDCs, and whether such
        Several commenters expressed                         overall accuracy of the ASP calculation.              an approach would be sustainable.
     concern that the proposed definitions of                We greatly appreciate the efforts                       We did not receive any comments on
     direct and indirect sales were unclear                  undertaken by commenters to examine                   our proposal to revise the regulations at
     and required further clarification to                   the potential impacts of the proposed                 § 414.804 to clarify that the estimation
     ensure consistent application across                    method on the overall ASP calculation.                ratio methodology published on
     manufacturers. Several commenters                       Based on the comments received, we                    September 16, 2004 (69 FR 55763),
     noted that our use of the term supplier                 find compelling the commenters’                       relates to lagged price concessions;
     was confusing; that it was unclear                      concerns about the challenges and                     therefore, we will implement the
     whether GPO sales would be considered                   increased burden associated with                      revised regulatory language as proposed.
     direct or indirect; and it was unclear                  calculating the ASP independently for
                                                                                                                   c. Determining the Payment Amount
     how utilization rebates to PBMs should                  direct and indirect sales and then
                                                                                                                   Based on ASP Data
     be categorized. Several commenters                      calculating the weighted average ASP.
     noted that certain purchasers (for                      Although we continue to have interest                   As explained in the August 8, 2005
     example, specialty pharmacies) may                      in the potential impacts of quarter to                proposed rule (70 FR 45844) in response
     purchase both directly and indirectly                   quarter variations in estimates of price              to inquiries we have received related to
     during a given reporting period.                        concessions, we will not adopt the                    the formula we use to calculate the
     Similarly, we received a comment from                   proposed change at this time.                         payment amount for each billing code
     a drug manufacturer requesting greater                     In reaching our decision, we noted                 we posted information on our web site
     clarification on how to allocate price                  that all of the drug manufacturers that               (http://www.questions.cms.hhs.gov)
     concessions across direct and indirect                  submitted comments reported that the                  earlier this year. We included this
     sales when a customer purchases under                   impact of the proposed refinement of                  information (which follows) in the
     both of these channels. Several                         the ASP calculation would be minimal                  proposed rule to ensure greater public
     manufacturers noted that their current                  or not material. We note that these                   access to this information.
     data systems were not capable of                        commenters are in a position to assess                  • For each billing code, we calculate
     capturing data at the level of detail                   the impacts of the proposed                           a weighted ASP using the ASP data
     necessary to accurately segregate sales                 methodology on their customers and to                 submitted by manufacturers.
     into the direct and indirect categories.                weigh the potential benefits and                        • Manufacturers submit ASP data at
     Other commenters noted that, in                         burdens inherent with the proposed                    the 11-digit NDC level.
     general, manufacturers do not track                     change. In all but one case (a                          • Manufacturers submit the number
     price concessions associated with direct                manufacturer which reports ASP for                    of units of the 11-digit NDC sold and the
     or indirect sales. As a result, several                 only one product), they did not support               ASP for those units.


VerDate Aug<31>2005   14:28 Nov 18, 2005   Jkt 208001   PO 00000   Frm 00103   Fmt 4701   Sfmt 4700   E:\FR\FM\21NOR2.SGM   21NOR2
                       Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 6 of 21
     70218            Federal Register / Vol. 70, No. 223 / Monday, November 21, 2005 / Rules and Regulations

        • We convert the manufacturers’ ASP                  acquisition costs, we may consider                    Cancer Patients’’, (A–06–05–00024), and
     for each NDC into the ASP per billing                   altering the methodology or establishing              MedPAC (October 6, 2005, public
     unit by dividing the manufacturer’s ASP                 exceptions, if we find good reason to do              meeting report on oncology site visits).
     for that NDC by the number of billing                   so. If we decided such a change is                    These studies have found that
     units in that NDC. For example, a                       warranted, we would implement the                     physicians generally can obtain
     manufacturer sells a box of 4 vials of a                change at the next quarterly update.                  oncology drugs for prices below
     drug. Each vial contains 20 milligrams                     Comment: Although not directly                     Medicare reimbursement.
     (mg). The billing code is per 10 mg. The                related to the formula used to calculate                 We did not propose a change to the
     conversion formula is: manufacturer’s                   the ASP payment amounts, we received                  price concessions manufacturers must
     ASP/[(4 vials × 20 mg)/10 mg = 8                        several comments from oncology                        include in the ASP calculation. Section
     billable units per NDC].                                physician practices and other                         1847A(c)(3) of the Act specifically
        • Then, the ASP per billing unit and                 commenters related to the adequacy of                 identifies prompt pay discounts as a
     the number of units (11-digit NDCs) sold                the ASP+6 percent payment                             type of price concession that must be
     for each NDC assigned to the Billing                    methodology and other topics. We                      included in the manufacturer’s
     Code are used to calculate a weighted                   received several comments from                        calculation of the ASP.
     ASP for the billing code. We sum the                    oncology and other providers                             Comment: We received comments
     ASP per billing unit times the number                   contending that the Medicare payment                  from a few drug manufacturers
     of 11-digit NDCs sold for each NDC                      amount does not always cover their                    requesting clarification and more
     assigned to the billing code, and then                  acquisition costs for certain drugs. A                detailed guidance on the treatment of
     divide by the total number of NDCs                      mid-sized oncology practice reported                  administrative fees, service fees, and
     sold. The ASP per billing unit for each                 that it is unable to obtain nearly half of            data fees in the ASP calculation.
     NDC is weighted equally regardless of                   the drugs it administers at a price below                Response: These issues are beyond
     package size.                                           the Medicare reimbursement rate. This                 the scope of this rule. We will continue
        Comment: Several manufacturers and                   commenter believes that larger practices              to work with manufacturers to more
     other commenters representing the                       may not face drug acquisition costs that              fully understand these issues. We
     manufacturing community                                 exceed ASP+6 percent. One oncology                    expect to publish a final rule on the ASP
     recommended that the formula be                         practice reported that the ASP+6                      reporting requirements and will
     revised so that the payment limit is                    percent payment would cover its drug                  consider these comments in the course
     calculated based on the weighted ASP                    costs if beneficiaries could always afford            of preparing that rule.
     of the number of billing units sold                     their cost sharing amounts. A large                      Comment: We received comments
     rather than the number of NDCs sold.                    oncology practice stated that its average             from oncology practices, ESRD facilities
     These commenters noted that products                    Medicare reimbursement, which is 2                    and retail pharmacies, as well as IVIG
     are available in different package sizes                percent more than its acquisition costs,              manufacturers and stakeholders,
     and that a billing code may encompass                   was insufficient and would cause it to                indicating that manufacturer price
     multiple NDCs. As a result, these                       discontinue treatment for beneficiaries.              increases are not reflected timely in the
     commenters contend that weighting the                      On the topic of price concessions,                 ASP+6 percent payment amounts due to
     ASP payment amount by NDCs sold                         several commenters, including a drug                  the necessary lag time for calculating
     does not reflect the true weighted                      manufacturer, suggested that prompt                   the rates and updating the payment
     average price per billing unit. Several                 pay and other discounts given to                      systems. One commenter suggested that
     commenters, including manufacturers                     wholesalers and distributors should not               we implement a ‘‘true up’’ mechanism
     and their trade associations, noted that                be included in the calculation of the                 that immediately reconciles the historic
     altering the formula to weight by the                   manufacturers’ ASP so that the payment                reimbursement rate to reflect
     number of billing units sold may                        amounts would be increased.                           manufacturer price increases. Several
     increase or decrease the overall ASP.                      Response: It is true for all payment               IVIG stakeholders suggested that we
     Nonetheless, these commenters                           systems based on averages that the                    issue payment rates on a retroactive
     recommend adoption of their                             payment amount may not equal a                        basis.
     recommended alternative formula. One                    specific provider’s cost for every                       Response: Section 1847A(c)(5)(B)
     commenter suggested that the                            service. Section 1847A of the Act                     specifies a prospective update in the
     alternative formula be adopted along                    specifies that the Medicare payment is                payment amounts. We agree with the
     with an exception process that would be                 at 106 percent of ASP for the majority                commenters’ observations that there is a
     applicable to billing codes that                        of Part B drugs and biologicals not paid              necessary time frame after the close of
     represent therapies of differing weights                on a cost or prospective payment basis.               a calendar quarter for manufacturers to
     or dosage. We also received comments                    The statute requires use of the ASP+6                 calculate and submit the ASP data to
     from manufacturers that supported                       percent payment methodology except in                 CMS, for CMS to prepare and issue the
     continued use of the current formula.                   limited instances. Although several                   payment rates, and for the claims
        Response: In establishing the formula                commenters (most of which represent                   processing contractors to implement the
     used to calculate the payment amounts                   oncology practices) reported that the                 updated payment files. As we stated in
     based on the manufacturers’ ASP data,                   ASP+6 percent methodology was                         the CY 2005 final rule (69 FR 66300), we
     we considered various approaches,                       insufficient to cover their drug                      implement these new prices through
     including the alternative approach                      acquisition costs for certain drugs, these            program instructions or otherwise at the
     recommended by some commenters. For                     commenters also acknowledged that the                 first opportunity after we receive the
     the initial implementation of the ASP                   Medicare payment exceeds their drug                   data, which is the calendar quarter after
     methodology, we operationalized the                     acquisition costs for other drugs. This is            receipt.
     calculation of ASP by weighting the                     consistent with the findings of recent                   Comment: Several commenters,
     formula by the number of NDCs sold. As                  studies by the General Accountability                 including patient and industry
     we gain more experience with the ASP                    Office (GAO) (GAO–05–142R), Office of                 representatives and physicians as well
     data and other sources of information                   Inspector General (OIG) (‘‘Adequacy of                as manufacturers, requested that we take
     become available about the purchasing                   Medicare Part B Drug Reimbursement to                 steps to improve the availability of IVIG.
     patterns of providers and their                         Physician Practices for the Treatment of              Many of these commenters noted their


VerDate Aug<31>2005   14:28 Nov 18, 2005   Jkt 208001   PO 00000   Frm 00104   Fmt 4701   Sfmt 4700   E:\FR\FM\21NOR2.SGM   21NOR2
                       Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 7 of 21
                      Federal Register / Vol. 70, No. 223 / Monday, November 21, 2005 / Rules and Regulations                                        70219

     ongoing collaboration with the                          experiencing difficulties in accessing                uses of IVIG are supported by a robust
     Congress, HHS, CMS and others to                        timely IVIG treatments and reports of                 evidence base, while for other medical
     better understand the market forces and                 providers experiencing difficulties in                conditions the evidence has not
     dynamics influencing the current IVIG                   obtaining adequate amounts of IVIG                    demonstrated that IVIG infusions are of
     situation. These commenters reported                    products on a consistent basis to meet                significant therapeutic benefit. There are
     that numerous patients and physician                    their patients’ needs in the current                  also new emerging indications for IVIG
     practices have been adversely impacted                  marketplace. Most brands of IVIG have                 treatment, including those based on
     by the change in reimbursement to the                   been put on allocation by manufacturers               recommendations from various
     ASP+6 percent methodology. These                        and some manufacturers have reported                  professional associations and advisory
     impacts include postponed infusions,                    allocating products to a smaller number               groups. In addition, despite the growing
     increasing intervals between infusions,                 of distributors and reducing the size of              uses of IVIG there are definite risks
     having to receive treatment in the                      inventories. In addition, there have been             associated with IVIG treatment,
     hospital setting rather than in the                     reports of diversion of products to the               including both early inflammatory
     physician office, possible unintended                   secondary market and secondary                        reactions and more rare but serious
     reactions as a result of switching brands               distributors raising prices markedly.                 renal and thromboembolic
     of IVIG, and increased level of effort to               The Secretary’s Advisory Committee on                 complications, as well as the inherent
     obtain product and schedule services.                   Blood Safety and Availability has                     risk associated with receipt of any
     Several commenters restated                             recommended immediate steps be taken                  biological product even with the
     suggestions previously communicated                     to ensure access to IVIG so that patients’            ongoing improvements in the safety of
     to us, including concerns about our                     needs are being met. However, the                     these types of products.
     proposed changes for IVIG                               complexity of the IVIG marketplace                       Medicare currently has one national
     reimbursement in the outpatient setting.                makes it unclear what particular                      coverage determination in place since
     Comments from an industry group                         systematic approaches would be most                   CY 2002 regarding IVIG infusions to
     referenced its new study that it is                     effective in addressing the many                      treat autoimmune blistering diseases,
     conducting to help clarify the                          individual circumstances that have been               and there are numerous local coverage
     marketplace and provide insight into                    shared with us while not exacerbating                 policies that describe Medicare coverage
     the costs for providing IVIG services.                  what appears to be a temporary                        for specific off-label indications. In the
     The study will examine IVIG acquisition                 disruption in the marketplace.                        context of these national and local
     costs and related services. Citing the                     IVIG is a complicated biological                   coverage policies, IVIG use in hospital
     adverse effects of patients migrating                   product that is purified from human                   outpatient departments has climbed
     from physician offices to hospitals for                 plasma obtained from human plasma                     steeply over the most recent years for
     treatment, several commenters                           donors. Its purification is a complex                 which data are available, from about
     requested that we consider an interim                   process that occurs along a very long                 40,000 infusion days in CY 2002, to
     add-on payment for the complex                          timeline, and only a small number of                  60,000 days in CY 2003, and again to
     activities related to furnishing IVIG                   manufacturers provide commercially                    over 70,000 days in CY 2004. The
     until the industry study is completed.                  available products. Historically,                     infusion of IVIG in physician offices
     These commenters noted that the add-                    numerous factors, including decreased                 increased from about 2.3 million grams
     on payment would ensure that                            manufacturing capacity, increased                     in CY 2003 to 4.0 million grams in CY
                                                             usage, more sophisticated processing                  2004. In the face of growing demand for
     providers are paid sufficiently for IVIG
                                                             steps, and low demand for byproducts                  IVIG in the absence of significant
     under Part B so that their provision of
                                                             from IVIG fractionation have affected                 changes in the prevalence of medical
     IVIG remains viable and beneficiaries’
                                                             the supply of IVIG. For CY 2006, there                conditions for which there is high
     access to IVIG is not reduced.
                                                             are 2 HCPCS codes that describe all                   quality evidence regarding the
        Response: We will continue to work                   IVIG products, based on their                         effectiveness of IVIG therapy, we are
     with the IVIG community,                                lyophilized versus liquid preparation.                concerned that all patients with medical
     manufacturers, the Congress, and other                     The recent patterns of utilization of              need for IVIG continue to have access to
     entities to seek better understanding of                IVIG also are unusual in comparison                   this expensive and valuable therapy.
     the supply and market issues                            with most other drugs and biologicals.                Over the upcoming year, we will be
     influencing the current IVIG market. We                 Different IVIG products are FDA-                      using our historical claims databases to
     look forward to learning of the                         approved in a number of therapeutic                   study the epidemiology of IVIG
     industry’s study findings as that work                  areas for various specific conditions                 treatment of Medicare beneficiaries in
     progresses. We have discussed the                       which include: anti-infective therapy                 outpatient settings. We expect that the
     accuracy of the ASP data with the                       (bone marrow transplant); immune                      health system as a whole should
     manufacturers and have been assured by                  globulin replacement therapy (primary                 encourage an accountable and
     these manufacturers that their ASPs                     immune deficiencies and chronic                       scientifically-grounded use of IVIG, and
     have been developed in accordance                       lymphocytic leukemia); anti-                          we welcome discussions with industry,
     with applicable guidance and that the                   inflammatory therapy (Kawasaki                        providers, and other interested entities
     resulting price reflects the current IVIG               disease); and immunomodulation                        regarding efforts to ensure that IVIG is
     market in aggregate. At the same time,                  therapy (idiopathic thrombocytopenic                  responsibly utilized for evidence-based
     the IVIG manufacturers’ association, the                purpura). IVIG therapy, which has been                clinical indications so that optimal
     Plasma Protein Therapeutics                             available for about 25 years, was                     benefit is obtained.
     Association, reports that the overall                   initially reserved for the treatment of                  Commenters have indicated to us that
     supply of IVIG is adequate and has                      these FDA-approved indications. More                  the infusion of IVIG in physician offices
     improved in the past several months.                    recently, IVIG has been increasingly                  is more complex and resource intensive,
     However, based on the comments                          used off-label so that off-label uses now             particularly during the actual infusion,
     received and our ongoing work with                      significantly exceed on-label uses. Many              than many other types of infusions
     manufacturers, patient groups, and                      of these off-label uses are for                       currently reported using the same drug
     other stakeholders, we continue to be                   autoimmune, neurological, or systemic                 administration CPT codes. They have
     concerned about reports of patients                     inflammatory conditions. Some off-label               described the specific resources


VerDate Aug<31>2005   14:28 Nov 18, 2005   Jkt 208001   PO 00000   Frm 00105   Fmt 4701   Sfmt 4700   E:\FR\FM\21NOR2.SGM   21NOR2
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 8 of 21




                   Portions Omitted
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 9 of 21




                  HeinOnline -- 70 Fed. Reg. 70225 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 10 of 21




                  HeinOnline -- 70 Fed. Reg. 70226 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 11 of 21




                  HeinOnline -- 70 Fed. Reg. 70227 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 12 of 21




                  HeinOnline -- 70 Fed. Reg. 70228 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 13 of 21




                  HeinOnline -- 70 Fed. Reg. 70229 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 14 of 21




                  HeinOnline -- 70 Fed. Reg. 70230 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 15 of 21




                  HeinOnline -- 70 Fed. Reg. 70231 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 16 of 21




                  HeinOnline -- 70 Fed. Reg. 70232 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 17 of 21




                  HeinOnline -- 70 Fed. Reg. 70233 2005
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 18 of 21




                    Portions Omitted
                      Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 19 of 21
     70332            Federal Register / Vol. 70, No. 223 / Monday, November 21, 2005 / Rules and Regulations

     components relating to training such as                 provides fewer than the minimum                       § 414.804   Basis of payment.
     technical staff, medical supplies, and                  number of training sessions.                             (a) * * *
     the special costs of education (manuals                    (5) To justify an accelerated training                (3) * * *
     and education materials). These                         exception request, an ESRD facility                      (iv) Example. The total lagged price
     requests may include overhead and                       must document that a significant                      concessions (discounts, rebates, etc.)
     other indirect costs to the extent that                 number of training sessions for a                     over the most recent 12-month period
     these costs are directly attributable to                particular modality are provided during               available associated with direct sales for
     the additional training costs.                          a shorter but more condensed period.                  National Drug Code 12345–6789–01
        (e) Documentation. The pediatric                        (6) The facility must submit with the              subject to the ASP reporting
     ESRD facility must provide the                          exception request a list of patients, by              requirement equal $200,000. The total
     following information to support its                    modality, trained during the most recent              in dollars for the sales subject to the
     exception request:                                      cost report period. The list must include             average sales price reporting
        (1) A copy of the facility’s training                each beneficiary’s—                                   requirement for the same period equals
     program.                                                   (i) Name;                                          $600,000. The lagged price concessions
        (2) Computation of the facility’s cost                  (ii) Age; and                                      percentage for this period equals
     per treatment for maintenance sessions                     (iii) Training status (completed, not              200,000/600,000 = .33333. The total in
     and training sessions including an                      completed, being retrained, or in the                 dollars for the direct sales subject to the
     explanation of the cost difference                      process of being trained).                            average sales price reporting
     between the two modalities.                                (7) The total treatments from the                  requirement for the quarter being
        (3) Class size and patients’ training                patient list must be the same as the total            reported equals $50,000 for 10,000 units
     schedules.                                              treatments reported on the cost report                sold. Assuming no non-lagged price
        (4) Number of training sessions                                                                            concessions apply, the manufacturer’s
                                                             filed with the request.
     required, by treatment modality, to train                                                                     average sales price calculation for this
     patients.                                               § 413.192    [Removed]                                National Drug Code for this quarter is:
        (5) Number of patients trained for the                                                                     $50,000¥(0.33333 × $50,000) = $33,334
                                                             ■ 18. Section 413.192 is removed.
     current year and the prior 2 years on a                                                                       (net total sales amount); $33,334/10,000
     monthly basis.                                          PART 414—PAYMENT FOR PART B                           = $3.33 (average sales price).
        (6) Projection for the next 12 months                MEDICAL AND OTHER HEALTH
     of future training candidates.                                                                                *      *    *     *     *
                                                             SERVICES                                              ■ 22. Section 414.904 is amended by—
        (7) The number and qualifications of
     staff at training sessions.                                                                                   ■ A. Revising paragraph (a) introductory
                                                             ■ 19. The authority citation for part 414
        (f) Accelerated training exception. (1)              continues to read as follows:                         text.
     A pediatric ESRD facility may bill                                                                            ■ B. Adding a new paragraph (d)(2)(iii).
     Medicare for a dialysis training session                  Authority: Secs. 1102, 1871, and 1881(b)(1)         ■ C. Revising paragraphs (d)(3) and
                                                             of the Social Security Act (42 U.S.C. 1302,           (e)(2).
     only when a patient receives a dialysis
                                                             1395hh, and 1395rr(b)(1)).
     treatment (normally 3 times a week for                                                                           The revisions and additions read as
     hemodialysis). Continuous cycling                       Subpart B—Physicians and Other                        follows:
     peritoneal dialysis (CCPD) and                          Practitioners                                         § 414.904   Basis of payment
     continuous ambulatory peritoneal
     dialysis (CAPD) are daily treatment                     ■ 20. Section 414.65 is amended by
                                                                                                                     (a) Method of payment. Payment for a
     modalities; ESRD facilities are paid the                revising paragraph (a)(1) to read as                  drug furnished on or after January 1,
     equivalent of three hemodialysis                        follows:.                                             2005 is based on the lesser of—
     treatments for each week that CCPD and                                                                        *      *     *     *     *
     CAPD treatments are provided.                           § 414.65    Payment for telehealth services             (d) * * *
        (2) If a pediatric ESRD facility elects                 (a) * * *                                            (2) * * *
     to train all its patients using a particular               (1) The Medicare payment amount for                  (iii) Effective for drugs and biologicals
     treatment modality more often than                      office or other outpatient visits,                    furnished in 2006, the payment for such
     during each dialysis treatment and, as a                consultation, individual psychotherapy,               drugs and biologicals furnished in
     result, the number of billable training                 psychiatric diagnostic interview                      connection with renal dialysis services
     dialysis sessions is less than the number               examination, pharmacologic                            and separately billed by freestanding
     of actual training sessions, the facility               management, end stage renal disease                   and hospital-based renal dialysis
     may request a composite rate exception,                 related services included in the monthly              facilities not paid on a cost basis is 106
     limited to the lesser of the—                           capitation payment (except for one visit              percent of the average sales price.
        (i) Facility’s projected training cost               per month to examine the access site),                  (3) Widely available market price and
     per treatment; or                                       and individual medical nutrition                      average manufacturer price. If the
        (ii) Cost per treatment the facility                 therapy furnished via an interactive                  Inspector General finds that the average
     receives in training a patient if it had                telecommunications system is equal to                 sales price exceeds the widely available
     trained patients only during a dialysis                 the current fee schedule amount                       market price or the average
     treatment, that is, three times per week.               applicable for the service of the                     manufacturer price by 5 percent or more
        (3) An ESRD facility may bill a                      physician or practitioner.                            in calendar year 2006, the payment limit
     maximum of 25 training sessions per                     *      *    *     *    *                              in the quarter following the transmittal
     patient for hemodialysis training and 15                                                                      of this information to the Secretary is
     sessions for CCPD and CAPD training.                    Subpart J—Submission of                               the lesser of the widely available market
        (4) In computing the payment amount                  Manufacture’s Average Sales Price                     price or 103 percent of the average
     under an accelerated training exception,                Data                                                  manufacturer price.
     CMS uses a minimum number of                                                                                    (e) * * *
     training sessions per patient (15 for                   ■ 21. Section 414.804(a) is amended by                  (2) Infusion drugs furnished through a
     hemodialysis and 5 for CAPD and                         revising paragraph (a)(3)(iv) to read as              covered item of durable medical
     CCPD) when the facility actually                        follows:                                              equipment. The payment limit for an


VerDate Aug<31>2005   14:28 Nov 18, 2005   Jkt 208001   PO 00000   Frm 00218   Fmt 4701   Sfmt 4700   E:\FR\FM\21NOR2.SGM   21NOR2
                      Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 20 of 21
                      Federal Register / Vol. 70, No. 223 / Monday, November 21, 2005 / Rules and Regulations                                          70333

     infusion drug furnished through a                       the addition of the HCPCS code(s) as                  to accept the changes to the approved
     covered item of durable medical                         applicable; and                                       CAP vendor’s CAP drug list that have
     equipment is calculated using 95                           (iii) Address the impact of the                    been approved in accordance with
     percent of the average wholesale price                  substitution of the NDC(s) or the                     § 414.906(f).
     in effect on October 1, 2003 and is not                 addition of the NDC(s) or HCPCS                         (vii) Agrees to place routine orders for
     updated in 2006.                                        code(s), or both on—                                  CAP drugs at the HCPCs level, except
     *     *     *    *     *                                   (A) Patient and drug safety;                       when medical necessity requires a
                                                                (B) Drug waste; and                                particular formulation on the approved
     ■ 23. Section 414.906 is amended by
                                                                (C) The potential for cost savings.                CAP vendor’s CAP drug list. Medical
     revising paragraph (f) to read as follows:
                                                                (4) Approval of a request(s). CMS or               necessity must be documented. When
     § 414.906 Competitive acquisition program               its designee notifies the approved CAP                the conditions of this paragraph are met,
     as the basis for payment.                               vendor of its decision.                               the participating CAP physician may
     *       *     *     *    *                                 (i) Except as specified in paragraph               submit a prescription order to the
        (f) Substitution or addition of drugs                (f)(4)(ii) of this section, an approved               approved CAP vendor that specifies the
     on an approved CAP vendor’s CAP drug                    request is effective at the beginning of              NDC.
     list. (1) Short-term substitution of a CAP              the next calendar quarter.                            *     *      *    *     *
     drug. On an occasional basis (for a                        (ii) Approved substitutions for request              (5) Additional opt out provision. In
     period of time less than 2 weeks), an                   based on a drug shortage or other                     addition to the circumstances listed in
     approved CAP vendor may agree to                        exigent circumstance may become                       paragraph (a)(2) of this section, if the
     furnish a substitute NDC within a                       effective immediately provided that—                  approved CAP vendor refuses to ship to
     HCPCS code on the approved CAP                             (A) CMS approves the immediate                     the participating CAP physician because
     vendor’s CAP drug list if the approved                  substitution; and                                     the conditions of § 414.914(h) were met,
     CAP vendor—                                                (B) The approved CAP vendor’s
                                                                                                                   the physician can withdraw from the
        (i) Is willing to accept the payment                 notifies its CAP participating physicians
                                                                                                                   CAP category for the remainder of the
     amount that was established for the                     of the substitution immediately
                                                                                                                   year immediately upon notice to CMS
     HCPCS code under this section; and                      following CMS approval.
                                                                                                                   and the approved CAP vendor.
        (ii) Obtains the participating CAP                      (5) Payment for an approved drug
                                                             change(s). The payment for— (i)                       *     *      *    *     *
     physician’s prior approval.
        (2) Long-term substitution or addition               Substituted or added CAP drugs that are               ■ 25. Section 414.914 is amended by—
     of a CAP drug. An approved CAP                          within a HCPCS code for which                         ■ A. Redesignating paragraphs (f)(9)
     vendor may submit a request, as                         payment is computed under paragraph                   through (f)(11) as paragraphs (f)(14)
     specified in paragraph (f)(3) of this                   (c)(1) of this section is the single                  through (f)(16).
     section, for approval to substitute an                  payment for that HCPCS code, as                       ■ B. Redesignating (f)(5) through (f)(8)
     NDC supplied by the approved CAP                        determined and updated in accordance                  as paragraphs (f)(9) through (f)(12) and
     vendor for another NDC within the same                  with paragraph (c)(1) of this section; or             paragraphs.
     HCPCS code or to add an NDC to the                         (ii) Added CAP drugs that are not                  ■ C. Adding new paragraphs (f)(5)
     approved CAP vendor’s drug list, if at                  within a HCPCS code for which                         through (f)(8) and (f)(13).
     least one of the following criteria is met:             payment is computed under paragraph                   ■ D. Revising paragraph (g)(3).
        (i) Proposed substitution of an NDC                  (c)(1) of this section is specified under             ■ E. Revising paragraphs (h)(1) through
     for a period of 2 weeks or longer.                      paragraph (c)(2) of this section.                     (h)(3), (h)(5) and (h)(6), and (h)(8).
        (ii) Proposed addition of one or more                ■ 24. Section 414.908 is amended by—
                                                                                                                     The revisions and additions read as
     NDCs within a HCPCS code included in                    ■ A. Revising paragraphs (a)(3)(v)(M).                follows:
     the CAP drug category specified by CMS                  ■ B. Redesignating paragraphs (a)(3)(vi)              § 414.914   Terms of contract.
     or on the approved CAP vendor’s                         through (a)(3) (xii) as (a)(3)(viii) through
     approved CAP drug list.                                                                                       *      *     *      *      *
                                                             (a)(3)(xiv).
        (iii) Proposed addition of—                                                                                   (f) * * *
                                                             ■ C. Adding new paragraphs (a)(3)(vi)
        (A) One or more newly issued HCPCS                                                                            (5) Respond within 2 business days to
                                                             and (a)(3)(vii).
     codes; or                                                                                                     any inquiry, or sooner if the inquiry is
                                                             ■ D. Revising paragraph (a)(5).
        (B) One of the following single                         The revisions and additions read as                related to drug quality;
     indication orphan drug J codes or their                 follows:                                                 (6) Staff a toll-free telephone line from
     updates: J0205, J0256, J9300, J1785,                                                                          8:30 a.m. or earlier and until 5 p.m. or
     J2355, J3240, J7513, J9010, J9015, J9017,               § 414.908    Competitive acquisition                  later for all time zones served in the
     J9160, J9216.                                           program.                                              continental United States by the CAP
        (iv) Beginning January 1, 2007, the                    (a) * * *                                           vendor on business days (Monday
     proposed addition of a drug(s) that has                   (3) * * *                                           through Friday excluding Federal
     not yet been assigned a HCPCS code,                       (v) * * *                                           holidays) to provide customer
     but for which a HCPCS code must be                        (M) Additional patient information:                 assistance, and establish reasonable
     established.                                            date of birth, allergies, height/weight,              hours of operation for Hawaii, Alaska,
        (3) Requesting the addition or                       ICD–9–CM (if necessary).                              Puerto Rico, and the other U.S.
     substitution of CAP drug. An approved                     (vi) Agrees to accept the particular                territories;
     CAP vendor that meets the one of the                    National Drug Codes (NDCs) supplied                      (7) Staff an emergency toll-free
     criteria specified in paragraph (f)(2)                  by the approved CAP vendor for the                    telephone line for weekend and evening
     must submit a written request to CMS                    duration of the participating CAP                     access when the call center is closed,
     or its designee. The request must—                      physician’s enrollment with the                       and determine what hours on Saturday
        (i) Specify the NDC(s) and the                       approved CAP vendor, subject to                       and Sunday the call center is staffed and
     respective HCPCS code that is to be                     paragraphs (a)(3)(vii) and (a)(3)(xiv) of             which hours a toll-free emergency line
     added or substituted.                                   this section. By electing to participate              is activated; and
        (ii) Address the rationale for the                   with an approved CAP vendor, the                         (8) Include assistance for the disabled,
     substitution or addition of the NDC(s) or               participating CAP physician also agrees               the hearing impaired, and Spanish-


VerDate Aug<31>2005   14:28 Nov 18, 2005   Jkt 208001   PO 00000   Frm 00219   Fmt 4701   Sfmt 4700   E:\FR\FM\21NOR2.SGM   21NOR2
Case 1:01-cv-12257-PBS Document 7132-9 Filed 06/10/10 Page 21 of 21




                  HeinOnline -- 70 Fed. Reg. 70334 2005
